                                          Case 19-15508                   Doc 29     Filed 05/17/19               Page 1 of 4


 Fill in this information to identify your case:

 Debtor 1                  Megan E. Allen
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number            19-15508
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bayview Loan Servicing, LLC                           Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of 7798 NE Spanish Trail Court                               Reaffirmation Agreement.
    property       Boca Raton, FL 33487 Palm                                 Retain the property and [explain]:
    securing debt: Beach County                                             Debtor will retain and seek a modification
                                                                           of the loan.


    Creditor's         Internal Revenue Service                              Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of 7798 NE Spanish Trail Court                               Reaffirmation Agreement.
    property       Boca Raton, FL 33487 Palm                                 Retain the property and [explain]:
    securing debt: Beach County                                             Debtor will retain and seek a modification
                                                                           of the lien.


    Creditor's         Internal Revenue Service                              Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of        7798 NE Spanish Trail Court                        Reaffirmation Agreement.

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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                                          Case 19-15508               Doc 29        Filed 05/17/19               Page 2 of 4


 Debtor 1      Megan E. Allen                                                                         Case number (if known)   19-15508

    property       Boca Raton, FL 33487 Palm                                Retain the property and [explain]:
    securing debt: Beach County                                           Debtor will retain and seek a modification
                                                                         of the lien.


    Creditor's     Internal Revenue Service                                 Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 111 76th Street, Unit 105 Ocean                          Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County                                                 Debtor will retain and seek a modification
                                                                         of the lien.


    Creditor's     Internal Revenue Service                                 Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 111 76th Street, Unit 105 Ocean                          Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County                                                 Debtor will retain and seek a modification
                                                                         of the lien.


    Creditor's     Internal Revenue Service                                 Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 160 Channel Buoy Road Ocean                              Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County
                   Ownership: Stephen Allen and
                   Megan Allen, Tenants by the
                   Entireties 50%; Patricia A.                            Debtor will retain and seek a modification
                   Shrader, Fee Simple 50%                               of the lien.



    Creditor's     Internal Revenue Service                                 Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 160 Channel Buoy Road Ocean                              Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County
                   Ownership: Stephen Allen and
                   Megan Allen, Tenants by the
                   Entireties 50%; Patricia A.                            Debtor will retain and seek a modification
                   Shrader, Fee Simple 50%                               of the lien.



    Creditor's     Old Line Bank                                            Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      160 Channel Buoy Road Ocean                         Reaffirmation Agreement.
                        City, MD 21842 Worcester
                        County
                        Ownership: Stephen Allen and
                        Megan Allen, Tenants by the
                        Entireties 50%; Patricia A.


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2

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                                          Case 19-15508               Doc 29        Filed 05/17/19               Page 3 of 4


 Debtor 1      Megan E. Allen                                                                         Case number (if known)   19-15508

    property            Shrader, Fee Simple 50%                             Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Old Line Bank                                            Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 160 Channel Buoy Road Ocean                              Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County
                   Ownership: Stephen Allen and
                   Megan Allen, Tenants by the
                   Entireties 50%; Patricia A.
                   Shrader, Fee Simple 50%                                avoid lien using 11 U.S.C. § 522(f)



    Creditor's     Old Line Bank                                            Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 111 76th Street, Unit 105 Ocean                          Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County                                                 avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Old Line Bank                                            Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 111 76th Street, Unit 105 Ocean                          Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County                                                 avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Patricia Shrader                                         Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 160 Channel Buoy Road Ocean                              Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County
                   Ownership: Stephen Allen and
                   Megan Allen, Tenants by the
                   Entireties 50%; Patricia A.
                   Shrader, Fee Simple 50%                                Debtor will retain.



    Creditor's     Rushmore Loan Management                                 Surrender the property.                                 No
    name:          Services                                                 Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of 111 76th Street, Unit 105 Ocean                          Reaffirmation Agreement.
    property       City, MD 21842 Worcester                                 Retain the property and [explain]:
    securing debt: County                                                 Debtor will retain and seek a modification
                                                                         of the loan.


    Creditor's     Specialized Loan Service                                 Surrender the property.                                 No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 3

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                                          Case 19-15508               Doc 29        Filed 05/17/19               Page 4 of 4


 Debtor 1      Megan E. Allen                                                                         Case number (if known)    19-15508

     name:                                                                   Retain the property and redeem it.                         Yes

                                                                            Retain the property and enter into a
     Description of 7798 NE Spanish Trail Court                             Reaffirmation Agreement.
     property       Boca Raton, FL 33487 Palm                               Retain the property and [explain]:
     securing debt: Beach County                                          Debtor will retain and seeka modification
                                                                         of the loan.


     Creditor's    SunTrust                                                 Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 160 Channel Buoy Road Ocean                             Reaffirmation Agreement.
     property       City, MD 21842 Worcester                                Retain the property and [explain]:
     securing debt: County
                    Ownership: Stephen Allen and
                    Megan Allen, Tenants by the
                    Entireties 50%; Patricia A.                           Debtor will retain and seek a modification
                    Shrader, Fee Simple 50%                              of the loan.



     Creditor's    Toyota Financial Services                                Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 2016 Toyota 4Runner 45,000                              Reaffirmation Agreement.
     property       miles                                                   Retain the property and [explain]:
     securing debt: Location: 1508 Brewster Gate
                    Road, Crownsville MD 21032

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               James and Corina Greig                                                                              No

                                                                                                                                  Yes

 Description of leased        Rental agreement - automatic yearly renewal - expires 2/28/2020
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Megan E. Allen                                                           X
       Megan E. Allen                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date        April 19, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 4

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